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                  UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
                 Criminal No. 09-299 (MJD/FLN)

UNITED STATES OF AMERICA,             )
                                      )
                     Plaintiff,       )
                                      )
               v.                     )      PRELIMINARY ORDER
                                      )      OF FORFEITURE
(4) CHRISTIAN ANTONIO                 )
    ARMENTILLA SOTO,                  )
                                      )
                     Defendant.       )

    Based on the United States’ motion for a Preliminary

Order of Forfeiture; on the Plea Agreement entered into

between the United States and Defendant Christian Antonio

Armentilla Soto; on the Court having found that certain

property is subject to forfeiture pursuant to 21 U.S.C. §

853(a); and on the Court’s determination that, based on the

Plea Agreement entered into by the defendant and based on all

of the files and records of this proceeding, the government

has established the requisite nexus between such property and

the offense to which the defendant has pled guilty,

    IT IS HEREBY ORDERED that:

    1.    The following property is forfeited to the United

States pursuant to 21 U.S.C. § 853(a):

    a.    Taurus PT92 9 millimeter handgun with loaded
          magazine, recovered from a 2002 gold Mistubishi
          Galant, Minnesota license plate 394-AUT;
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      b.    Taurus PT-22 handgun, rosewood handle                      with     an
            unloaded magazine, serial # AYJ40106;

      c.    wooden Mossberg 12 gauge pump shotgun, serial #
            R304379;

      d.    wooden Marlin .22 caliber rifle, Model 60, serial #
            95423323; and

      e.    black .257 rifle unknown make or model with a Tasco
            4 X 40 scope, serial # M35615;

      2.    The Attorney General or his authorized designee may

seize the foregoing property and maintain custody and control

of    the   property   pending     the   entry   of     a    Final    Order     of

Forfeiture;

      3.    The United States shall, pursuant to 21 U.S.C. §

853(n)(1), publish and give notice of this Order and its

intent to dispose of the foregoing property in such manner as

the Attorney General may direct;

      4.    Pursuant to Fed. R. Crim. P.         32.2(b)(4)(A) and (B),

this Preliminary Order of Forfeiture shall become final as to

the defendant at the time of sentencing, and shall be made a

part of his sentence and included in the criminal judgment;

      5.    Following the Court’s disposition of all petitions

filed pursuant to 21 U.S.C. § 853(n)(2) or, if no petitions

are    filed,   following    the    expiration     of       the   time    period

specified within which to file such petitions, the United



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States shall have clear title to the foregoing property and

may   warrant    good   title      to   any    subsequent       purchaser     or

transferee; and

      6.    This Court shall retain jurisdiction to enforce this

Order, and to amend it as necessary pursuant to Fed. R. Crim.

P. 32.2(e).

Dated: June 28, 2010

                                    S/ Michael J. Davis
                                    MICHAEL J. DAVIS, Chief Judge
                                    United States District Court




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